                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 14-03106-15-CR-S-MDH
                                                   )
ROBERT CANALES,                                    )
                                                   )
                         Defendant.                )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Count One

contained in the Third Superseding Information filed on December 21, 2016, and Defendant’s

admittance of Forfeiture Allegation One, are now Accepted. The Defendant is Adjudged Guilty of

such offense. Sentencing will be set by subsequent Order of the Court.




                                                       s/Douglas Harpool
                                                         DOUGLAS HARPOOL
                                                   UNITED STATES DISTRICT JUDGE




Date: January 5, 2017




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